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                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th floor
                                                    New York, New York 10278


                                                     May 16, 2025

VIA ECF
Honorable Margaret M. Garnett
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Luigi Nicholas Mangione, 25 Cr. 176 (MMG)

Dear Judge Garnett:

        Attached for the Court’s review and consideration is a proposed protective order in the
above-captioned matter. The parties have agreed to the terms of the protective order, which provide
for the Government to produce materials under specific designations and allow the defendant to
contest those designations before the Court.

                                                     Respectfully submitted,

                                                     AMANDA L. HOULE
                                                     Attorney for the United States Attorney
                                                     Acting Under Authority Conferred by
                                                     28 U.S.C. § 515



                                              By:              /s/
                                                     Dominic A. Gentile / Jun Xiang
                                                     Alexandra Messiter / Thomas John Wright
                                                    Assistant United States Attorneys
                                                    (212) 637-2200


cc: Counsel of Record (Via ECF)
